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CL.ERK l,|..S ill

‘V' 2:04CR20028-01-B W..D OF Ti'i, Mtivii”l~iiS

DEBORAH FUTRELL

lillarvin E. Ba|lin, Retained
Defense Attorney

200 Jefferson Avenue, #1250
Niemphis, TN 38103

 

JUDGN|ENT lN A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on November 03, 2004.
Accordingiy, the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Tit|e & Section Nature of Offense Of‘fense Numberjsj
Concluded
18 U.S.C. § 1028(a)(7) identification Document and 10/05/2001 1

information Fraud

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Mandatory
Victims Fiestitution Act of 1996

Counts 2,3,4 & 5 are dismissed on the motion of the United States.

lT iS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until ali fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 10/14/1969 Aprii 21, 2005
Deft’s U.S. iViarsha| No.: 19446-076

Defendant’s iViai|ing Address:
3393 Zoysia Drive
Apartment #4

Memphis, TN 33115 ®M

J. DAN|EL §REEN
<)leTED sTATEs DlsTFthT JUDGE

Aprii..,cr;l*l__, 2005
he docket sheet in compliance

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This document entered on t
with Ruie 55 and/or 32(*;) )FFiCrP on

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Case No: 2:04CF120028-01-B Defendant Name: Deborah FUTRELL Page 2 014

|IVIPRISONNlENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 5 lVionths.

The Court recommends to the Bureau of Prisons:
Piacement in a facility as close to i\/iemphis, Tennessee, as possib|e.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States i\/iarsha|.

RETURN

i have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. |Viarshaf

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Case No: 2104CFt20028-01-B Defendant Name: Deborah FUTRELL Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from Custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a flrearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:04CR20028-01-B Defendant Name: Deborah FUTFiELl_ Page 4 of 4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the oourt;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

12, lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Nlonetary F’ena|tles sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Partlcipate in substance abuse testing and treatment programs as directed by the
Probation Officer.

2) Cooperate With DNA collection at the direction of the Probation Officer.

3) Serve 5 months of Home Confinement at the direction of the Probation Officer.

CR|NI|NAL NiONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500l unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution
$100.00
The Special Assessment shall be due immediately.

F|NE
No fine lmposed.

REST|TUT|ON
No Ftestitution was ordered

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
ease 2:04-CR-20028 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

Marvin E. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

Memphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

